Case 2:23-cv-10715-JAK-DTB Document 74 Filed 02/05/24 Page 1 of 1 Page ID #:163




                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES--GENERAL

 Case No.   2:23-cv-10715-JAK (DTB)                              Date: February 5, 2024

 Title: Todd Michael Schultz v. Superior Court of Los Angeles, et al.
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 DOCKET ENTRY
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 PRESENT:
                    HON. DAVID T. BRISTOW, MAGISTRATE JUDGE
                    S. Lorenzo                                     n/a
                    Deputy Clerk                            Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:                  ATTORNEYS PRESENT FOR DEFENDANT(S):
       None present                                         None present

 PROCEEDINGS: (IN CHAMBERS) ORDER RE DEFENDANTS’ MOTION
 TO DISMISS [DKT # 70]

       Defendants’ Motion to Dismiss

       Defendants the Honorable Michael E. Whitaker, Judge of the Superior Court of
 California, County of Los Angeles and Superior Court of California, County of Los
 Angeles, erroneously sued as, Superior Court of Los Angeles have appeared and filed
 a Motion to Dismiss (“Motion”). Plaintiff is ordered to serve and file his opposition
 (if any) to the Motion on or before March 5, 2024. Unless the Court orders
 otherwise, defendants shall not file a reply to plaintiff=s opposition. The Motion will
 be taken under submission as of the date plaintiff=s opposition is due and/or filed and
 will be decided on the papers without oral argument. See Local Rule 7-15.
 Accordingly, the hearing noticed for March 14, 2024, is ordered off calendar.




 MINUTES FORM 11                                               Initials of Deputy Clerk   SL
 CIVIL-GEN
